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                  IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF ARKANSAS
                          FAYETTEVILLE DIVISION



CRIMINAL NO. 08-50050-002                USA v. CARLOS NOYLES

COURT PERSONNEL:                         APPEARANCES:

Judge: JIMM LARRY HENDREN                Govt. KENNY ELSER

Clerk: GAIL GARNER                       Deft. KRISTIN PAWLIK

Reporter: THERESA SAWYER


                         SENTENCING MINUTE SHEET


     On this date the above named defendant appeared in person and
with counsel for sentencing and is sworn.

      (X)    Inquiry made that defendant is not under influence of
             alcohol or drugs and is able to comprehend proceedings.
      (X)   Inquiry made whether defendant is under the care of a
             physician or taking any medication and is able to
             comprehend proceedings.
      (X)    Inquiry made that defendant is satisfied with counsel.
      (X)    Court determined that defendant and counsel have had
             opportunity to read and discuss presentence investigation
             report.
      (X)   Presentence investigation report reviewed in open court.
      (X)    Government moves for downward departure pursuant to
             5K1.1 - granted and 3-level departure awarded by court.
      (X)    Court expresses final approval of plea agreement.
      (X)    Counsel for defendant afforded opportunity to speak on
             behalf of defendant.
      (X)    Defendant afforded opportunity to make statement and
             present information in mitigation of sentence.
      (X)    Attorney for government afforded opportunity to make
             statement to court.
      (X)    Court proceeded to impose sentence as follows:

            72 months imprisonment; 3 years supervised release;
            $10,000.00 fine - interest waived.
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Criminal No. 08-50050-002


      (X)   Defendant ordered to comply with standard conditions of
            supervised release.
      (X)   Defendant order to comply with the following special
            conditions of supervised release:

            Submit person, residence, place of employment, and
            vehicle to search upon request by USPO.

            Submit to inpatient/outpatient substance abuse
            and/or alcohol testing/treatment as directed by USPO.

      (X)   Defendant ordered to pay total special assessment of
            $100.00, for count 1, which shall be due immediately.
      (X)   Defendant advised of right to appeal sentence imposed.
      (X)   Defendant advised of right to apply for leave to appeal
            in forma pauperis.
      (X)   Appeal packet provided.
      (X)   Defendant remanded to custody of U.S. Marshal.



DATE: JANUARY 8, 2009                           Proceeding began: 3:35 pm

                                                              ended: 4:21 pm
